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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

MSR MEDIA SKN LTD., MSR HOTELS
& CO. LTD., MSR MEDIA
INTERNATIONAL LLC, and PHILIPPE
MARTINEZ,

Plaintiffs,

LESLIE KHAN, CARIBBEAN GALAXY
REAL ESTATE CORP., CARIBBEAN
GALAXY REAL ESTATE LTD., YING
JIN, TIMOTHY HARRIS, DENZIL
DOUGLAS, CARIB TRUST LTD.,
FARON LAWRENCE, ST. KITTS-
NEVIS-ANGUILLA NATIONAL BANK
LTD., and MC CLAUDE EMMANUEL,

Defendants.

No. 8:24-cv-01248

DECLARATION OF
JACQUELINE LAWRENCE

I, Jacqueline Lawrence, hereby declare as follows:

l. I am the Chief Executive Officer (“CEO”) of CaribTrust Ltd.

(“CaribTrust”), a Limited Liability Company registered and headquartered in St.

Kitts and Nevis.

2. In my capacity as CEO, I am authorized to submit this declaration on

behalf of CaribTrust, in further support of Defendants’ Joint Motion to Dismiss

Plaintiffs’ Complaint Based on Jurisdictional and Forum Issues filed in the above-

captioned action.
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3. CaribTrust operates exclusively in St. Kitts and Nevis. Among certain
limited trust and corporate services that it offers, CaribTrust provides escrow
services for private transactions within St. Kitts and Nevis and acts as an escrow
agent for real estate investments under the St. Kitts-Nevis Citizenship by
Investment (“CBI”) Program. In particular, as an escrow agent, CaribTrust will
hold and disburse funds for parties in an escrow account in accordance with the
specific conditions of the parties’ escrow agreements.

4. In connection with the CBI Program, CaribTrust operates an escrow
account maintained at the National Bank of St. Kitts and Nevis. To be clear,
CaribTrust does not maintain any bank or escrow accounts in the United States.

5. CaribTrust does not own any real property in the United States.

6. CaribTrust does not hold any assets in the United States.

7) CaribTrust has not operated, conducted, or engaged in or carried ona
business venture, or had an office or agency in the United States.

8. CaribTrust does not have any officers, employees, agents, or affiliates
in the United States.

9. All of CaribTrust’s employees reside in St. Kitts and Nevis.

10. CaribTrust employees have not traveled to the United States in
relation to their work.

11. CaribTrust does not file taxes in the United States or Florida.

12. CaribTrust does not possess or maintain a license to do business in the
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United States or Florida.

13. While CaribTrust maintains a website that is accessible to potential
clients worldwide, the website contains no targeted advertising to solicit any clients
in the United States.

14. To date, CaribTrust has not serviced any clients in the United States or
generated any revenue from clients in the United States.

Pursuant to 28 U.S.C. § 1746, I certify under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.

Executed on October 20" >024
in St. Kitts and Nevis

a@queline Lawrence
